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           Exhibit 1
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

LEROY PERNELL, et al.,
    Plaintiffs,

v.
                                                                    304
                                                  Case No.: 4:22-cv-- ---
FLORIDA BOARD OF GOVERNORS OF
THE STATE UNIVERSITY SYSTEM, et
al.,
     Defendants.


 DECLARATION OF LEROY PERNELL IN SUPPORT OF PLAINTIFFS'
         MOTION FOR A PRELIMINARY INJUNCTION
I, LeRoy Pernell, hereby declare and state as follows:
A. Background
     1. My name is LeRoy Pernell. I am over 18 years of age and identify as an

        African-American man.

     2. I have personal knowledge of the following facts and if called to testify could

        and would competently do so.

     3. I have over 40 years of professional experience in higher education. From

        2008 onwards, I have worked at Florida A&M University College of Law

        (FAMU Law), a law school at a historically Black college and university

        (HBCU). From 2008 to 2015 I served as Dean, and from 2017 to 2019, I
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   served as Interim Dean. While serving as Dean, I helped FAMU Law achieve

   full American Bar Association (ABA) accreditation in 2009.

4. Since 2019, I have served as Professor of Law, where my coursework focuses

   on the criminal legal system. I teach primarily in the areas of criminal

   procedure, torts, juvenile law, and race and the law. I have published articles

   and book chapters on criminal procedure, race and the law, torts, and sports

   law. I also recently published a book, along with Professor Omar Saleem,

   titled "Cases and Materials on Combatting Racism in Criminal Procedure."

5. With regard to my education, I received a Bachelor of Arts degree in

   Government from Franklin and Marshall College and a Juris Doctor degree

   from Ohio State University College of Law (Ohio State Law).

6. After graduating from Ohio State Law, I worked for Columbus Legal Aid and

   Defender Society representing indigent individuals and juveniles in the

   criminal legal system, before going into teaching. I then served in various

   roles as a law professor at Ohio State Law for over 20 years. I also served as

   Vice Provost in the Office of Minority Affairs at Ohio State Law for about

   four years. In 1997, I took over as Dean of Northern Illinois University

   College of Law and served in that role for over 10 years, before joining FAMU

   Law as Dean.
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  7. During my career, I have earned numerous awards, honors, and accolades. For

     example, in 2018, I won the Council on Legal Education Opportunity's CLEO

     EDGE Award and was inducted into the HBCU Pre-Law Hall of Fame. I was

     elected to the American Law Institute (ALI) in 2000 and was a member on

     the ALI consultative group on the Restatement of Torts 3rd. I also served on

     the board of trustees of the Law School Admissions Council.

B. FAMU Law's History and Present

  8. FAMU Law, as a college in a HBCU, has a rich history of activism in the

     fight for racial justice. The state of Florida also has a history of punishing

     FAMU Law severely for that activism.

  9. In 1949, after a Black student named Virgil Hawkins applied to the then-

     segregated University of Florida Law School, the state of Florida decided to

     open a law school to accommodate Hawkins and other Black law students in

     Florida. This allowed the state to justify its refusal to integrate the University

     of Florida under the "separate but equal" doctrine from the United State

     Supreme Court's opinion inPlessy v. Ferguson, 163 U.S. 537 (1896). FAMU

     Law admitted its first class in 1951.

  10. During the Civil Rights Movement of the 1950s and 1960s, Black students

     attending Florida A&M University (FAMU) and FAMU Law participated in

     demonstrations protesting segregation. For example, John D. Due, Jr., a
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  member of the Florida Civil Rights Hall of Fame and FAMU Law graduate,

  worked as an attorney in Mississippi during the Freedom Summer on behalf

  of the Student Nonviolent Coordinating Committee to monitor violence

  against civil rights workers. Due's wife, Patricia Stephens Due, was a

  prominent civil rights activist and FAMU student who participated in the first

  "jail-in" of the Civil Rights Movement after electing not to pay a fine or bail

  for sitting at a "whites only" lunch counter at a Tallahassee Woolworth's

  store. Arthenia Joyner, later the Minority Leader of the Florida Senate, is

  another example of a civil rights activist who graduated from FAMU Law

  during the 1960s.

11. Students and faculty at FAMU Law also frequently represented activists who

  were arrested for violating Jim Crow laws in Florida.

12. In response to these efforts, then-Governor W. Haydon Bums, an ardent

  segregationist, and the Florida. legislature worked together to tarnish FAMU

  Law's reputation and minimize its leading role in the civil rights movement.

   In 1965, the Florida legislature voted to strip the law school of its funding and

   opted instead to fund a new law school at the formerly segregated Florida

   State University. Florida State opened its law school in 1966, and FAMU

  Law's last class graduated in 1968. The school remained closed for over 30

  years.
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  13. In 2000, after calls from the ABA and others to better diversify the legal

    profession, the Florida Legislature passed legislation reestablishing FAMU

     Law. FAMU Law admitted its first class in 2002 and earned ABA provisional

     approval in 2004, receiving full accreditation in 2009.

  14. Today, FAMU Law supports an extremely diverse base of students. As of fall

     2021, 73.6% of FAMU Law's total students identified as people of color.

     47.6% of its total students identified as Black or African-American. In its fall

     2021 first-year class, 75.4% of its students identified as people of color and

     46.2% identified as Black or African-American. See Attached Exhibit A.

  15. FAMU Law's faculty is also diverse. As of fall 2021, 73.2% of its total

     faculty and 81.8% of its full-time faculty identify as people of color. See id.

     Presently, I estimate that over 80% of FAMU Law's full-time faculty

     identifies as Black.

C. My Current Coursework

  16. In the fall semester, I will be teaching Constitutional Law II (LAW 5502) and

     Torts (LAW 5700). In the spring semester, I am still solidifying my courses,

     but will likely be teaching Criminal Procedure: Pre-Trial Procedure, as well

     as Advanced Topics in Criminal Procedure: The Role of Race in Criminal

     Procedure.
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  17. Constitutional Law II is an advanced course where we go into more detail on

     the historical and legal bases for our constitutional framework. Torts is an

     introductory course that covers the history and development of the legal

     principles underlying non-contractual civil wrongs, both at common law and

     under various statutes.

  18. In The Role of Race in Criminal Procedure, we address the often-ignored role

     of race in American criminal justice. This course systematically traces the role

     that race plays at each major stage of the criminal process, including the

     application of Equal Protection and Due Process principles.

D. The Interaction Between House Bill 7 (H.B. 7) 1 and the Content of My

Courses

  19. On April 22, 2022, Governor Ron Desantis signed H.B. 7 into law. This law

     amended§ 1000.05(4), Fla. Stat., to add a list of eight prohibited concepts that

     instructors are permitted to denounce but are not permitted to advance.

  20. As I understand it, H.B. 7 makes it illegal to teach about the existence and

     manifestations of systemic racism in the legal system. The law does this

     explicitly by limiting instruction on the racial origin and impact of concepts

     like "neutrality, objectivity, and racial colorblindness" and also broadly chills

     instruction in the realm of critical race thinking.


     1 Ch.   2022-72, Laws of Fla.
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21. From a legal teaching perspective, it is pedagogically appropriate to teach the

   concepts that H.B. 7 now prohibits, because they are grounded in case law,

   academic research, and well-recognized analytical frameworks. Moreover,

   using these concepts-particularly those that pertain to analyzing and

   understanding systemic inequalities perpetuated by our legal system-is

   valuable because it helps to inspire and teach students on how to bring about

   transformative change. By discussing topics like systemic racism, for

   example, we prepare students to bring about positive change against racism.

   Discussion of these topics often exposes students to ideas and concepts for the

   first time, like instances of racism in the criminal justice system, and prompts

   students to think about their career trajectories and how they can promote

   change as future lawyers. We cannot begin to address the problems within our

   legal system without first understanding what needs to be changed.

22. An example of specific material that H.B. 7 could require me to no longer use

   in one of my courses is Cases and Materials on Combatting Racism in

   Criminal Procedure, the casebook I authored. Last fall, I assigned this

   casebook in my course on The Role of Race in Criminal Procedure, and the

   vast majority of the required readings in that course came from the book. See

   Attached Exhibit B. This casebook discusses the ways in which racism

   became and has remained embedded in our criminal legal system. See
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     Attached Exhibit C. This casebook does not conform with H.B. Ts mandate

     of "colorblindness," and it is hard for a student to conclude that I do not

     endorse the material in the book when I am the one who authored it and the

     book includes excerpts ofmy scholarship. See id.

E. How H.B. 7 Will Impact My Teaching and My Courses

  23. H.B. 7 impacts my ability to teach each ofmy courses, because central to my

     teaching philosophy is the premise that the legal system is not, and has never

     been, race-neutral. I ask students to look critically at the legal system from the

     perspective that the system is very color-conscious and promotes race

     privilege. For example, when I teach my criminal procedure courses, I start

     with the idea that all modem criminal procedure is based on race-conscious

     decision-making. A significant portion of the course involves looking at race

     in the criminal justice system from a critical point of view, including the

     racism that led to the murder of Fred Hampton, the Attica Prison Riots, and

     newer forms of slavery-like prison labor-that continue to this day.

  24. This perception of the legal system extends beyond criminal procedure; in

     Constitutional Law we discuss a number of events from a critical perspective

     regarding race, including the racial implications of the founding of the

     Constitution and the enforcement of civil rights. In Torts, we discuss race and

     tort liability.
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25. My ability to fully and accurately present these nuanced and complex issues

   is directly impacted by the limits H.B. 7 places on using viewpoints like

   "[s]uch virtues as merit, excellence, hard work, fairness, neutrality,

   objectivity, and racial colorblindness are racist or sexist."§ 1000.05(4)(a)(8),

   Fla. Stat.

26. The way I teach, therefore, cannot comport with H.B. 7, as the law directly

   challenges a foundational notion of my pedagogy: that the legal system is not

   race-neutral.

2 7. H.B. 7 also chills student speech in the classroom, as students will be afraid

   to express the~ views on race in a way that they now perceive is contrary to

   Florida law. I fear that fewer students will choose to combat racism as a part

   of their profession, not only because they won't have received sufficient

   instruction due to H.B. 7's prohibitions on teaching, but also due to a

   perception that the state stands in opposition to such a career.

28. I know that I will face negative consequences for teaching students as I had

   prior to the enactment of H.B. 7, given that such teaching will now be illegal.

29. I am also concerned that the state government will strip FAMU Law of

   funding if I violate H.B. 7. I spent almost a decade as Dean and Interim Dean

   of FAMU Law. I left my position as Dean of Northern Illinois University

   College of Law to come to F AMU Law and help the law school achieve full
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     accreditation. The success of FAMU Law and its continued financial

     sustainability, which relies on state funding, are particularly important to me.

  30. I expect that we will see a reduction in courses that involve critical race

     thinking, as professors-especially those without tenure-will not want to

     take a chance teaching courses that implicate the prohibited concepts, and

     therefore may run the risk of violating H.B. 7.

  31. In my personal opinion, H.B. 7 appears targeted at Black educators, scholars,

     and thinkers. For one, the legislative proposal that led to H.B. 7, the "Stop

     Woke Act," focuses on the word "woke," a word that Black people created

     and popularized. Moreover, H.B. 7 appears to be a direct reaction to the shift

     in dynamic that occurred in Florida, and around the nation, following the

     murder of George Floyd, where there was a new-found recognition of ongoing

     race-motivated violence and racial disparities in America. H.B. 7 appears to

     be an attempt by the legislature to push back against these conversations and

     the growing awareness of racism among the populace.

F. Exhibits

  32. Attached as Ex. A is a true and correct copy of the ABA's 2021 Standard 509

     Information Report for FAMU Law.
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   33. Attached as Ex. B is a true and correct copy of my syllabus from my

      Advanced Topics in Criminal Procedure: The Role of Race in Criminal

      Procedure course that I taught in the fall 2021 semester.

   34. Attached as Ex. C is a true and correct copy of the title page and table of

      contents from the Cases and Materials on Combatting Racism in Criminal

      Procedure casebook I authored.




   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and accurate.

Executed on August 10, 2022.
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                    Ex. A
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FLORIDA A&M UNIVERSITY - 2021 Standard 509 Information Report
201 Beggs Avenue                                                                                                              ABA
Orlando, Florida 32801                                                                                                Approved
Phone: 407-254-4010                                                                                                         Since
Website: http://law.famu.edu/                                                                                               2004
http://www.abarequireddisclosures.org
Report Generated on: 12-14-2021


The Basics                                                              2021 First Year Class (Oct 6th 2020-Oct 5th 2021)
Type of school               Public                                                                                                          2021
Application deadline         May 31                                     Completed Applications                                               1515
                                                                        Offers of Admission                                                  561
Application fee
                                                                        Acceptance Rate (Percent)                                                     37.03%
Financial aid deadline       May 1
                                                                        Enrollees from Applicant pool                                        130
                                                                        Enrollment rate from Completed Applications                                     8.58%
Academic Calendar
                                                                        Enrollment rate from Offers of Admission                                      23.17%
Term                                            Semester
                                                                        Other first-year enrollees                                              0
Months students may begin studying law          August
                                                                                                                        All         Full Time       Part Time
Months the Law school confers degrees           May, August, December
                                                                        Total in First-year class                      130            104              26
# of credit hours required to earn the JD       90                      LSAT                                            All         Full Time       Part Time
                                                                              75th Percentile                          152            152             152

Curricular Offerings 2020-2021                                                50th Percentile                          149            149             148
                                                                              25th Percentile                          147            147             146
                                                         2020-2021
                                                                        # not included in LSAT                          0              0               0
Typical first-year section size, excluding                   41         calculations
Legal Research & Writing
                                                                        UGPA                                            All         Full Time       Part Time
Number of course titles,beyond the first                    71
year curricular,offered last year                                             75th Percentile                          3.64           3.68            3.43

Number of upper division class room                                           50th Percentile                          3.42           3.44            3.21
course sections with an enrollment:                                           25th Percentile                          3.15           3.23            3.03
                  Under 25                                  73          # not included in UGPA                          3              1               2
                                                                        calculations
                  25 to 49                                  27
                                                                        GRE                                             All         Full Time       Part Time
                  50 to 74                                  15
                                                                        75th Percentile GRE Verbal Reasoning            0              0               0
                  75 to 99                                   1          50th Percentile GRE Verbal Reasoning            0              0               0
                  100 +                                      0          25th Percentile GRE Verbal Reasoning            0              0               0
                                                                        75th Percentile GRE Quantitative Reasoning      0              0               0
Number of seats available in law clinics last               42
year                                                                    50th Percentile GRE Quantitative Reasoning      0              0               0
Number of field placements positions filled                 175         25th Percentile GRE Quantitative Reasoning      0              0               0
last year
                                                                        75th Percentile GRE Analytical Writing          0              0               0
Number of seats available in simulation                     462
                                                                        50th Percentile GRE Analytical Writing          0              0               0
courses
                                                                        25th Percentile GRE Analytical Writing          0              0               0
Number of seminars                                          15

Number of co-curricular offerings                            3




    1                                                                                                                  FLORIDA A&M UNIVERSITY
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J.D Enrollment as of October 5th 2021
                                                                         JD1                                 JD2                          JD3                                 JD4                      Total

                                                            T       M          W         O         T    M          W    O       T    M          W          O     T        M         W          O        T

Hispanics of any race                                     34        9          25        0         20   5          15   0      32    9          23         0     6        1         5          0        92
American Indian or Alaska Native                            0       0          0         0         0    0          0    0      0     0          0          0     0        0         0          0        0
Asian                                                       1       1          0         0         3    2          1    0      2     0          2          0     0        0         0          0        6
Black or African American                                 60        14         46        0         48   10         38   0      86    25         61         0     4        0         4          0       198
Native Hawaiian or Other Pacific Islander                   0       0          0         0         0    0          0    0      0     0          0          0     0        0         0          0        0
Two or More Races                                           3       2          1         0         2    0          2    0      5     2          3          0     0        0         0          0        10
Total Minority                                            98        26         72        0         73   17         56   0      125   36         89         0     10       1         9          0       306
White                                                     31        10         21        0         15   9          6    0      53    25         28         0     8        5         3          0       107
Nonresident Alien                                           0       0          0         0         1    0          1    0      0     0          0          0     1        1         0          0        2
Race and Ethnicity Unknown                                  1       0          1         0         0    0          0    0      0     0          0          0     0        0         0          0        1
Total                                                     130       36         94        0         89   26         63   0      178   61       117          0     19       7         12         0       416



Faculty Resources 2020 - 2021                                                                            J.D. Degrees Awarded 2020-2021
                             Male           Female        Other        People              Total
                                                                       of Color                          Hispanics of any race                                                           39
Full-time faculty             14             19             0            27                  33          American Indian or Alaska Native                                                 0
members
Non-full-time faculty         16              7             0            14                  23          Asian                                                                            1

Total                         30             26             0            41                  56          Black or African American                                                       72

                               Full Time                        Part Time                  Total         Native Hawaiian or Other Pacific Islander                                        1

Librarians                              8                          0                         8           Two or More Races                                                                3

Administrators                      15                             0                         15          Total Minority                                                                  116

                                                                                                         White                                                                           37

                                                                                                         Nonresident Alien                                                                1

                                                                                                         Race and Ethnicity Unknown                                                       0

                                                                                                         Total                                                                           154


1L Tuition and Fees 2021 - 2022                                                                         Grants and Scholarships 2020-2021
Per Annual:         Resident Annual          Non-Resident Annual                   Other     Annual                                       Total                 Full Time                 Part Time
                              Fees                         Fees                               Fees                                        #           %               #       %                    #     %
Full-Time             $0           $0                $0                $0           $0            $0    Total # of students          472             100          358         76               114       24
Part-Time             $0           $0                $0                $0                               Total # receiving            422             89           337         94               85        75
                                                                                                        grants
Per Credit:         Resident Annual          Non-Resident Annual                   Other     Annual
                                                                                                        Less than 1/2 tuition        376             80           300         84               76        67
                              Fees                         Fees                               Fees
Full-Time            $ 456      $                 $ 1,098            $              $0            $0    Half to full tuition          36               8             29        8                   7        6
                              13,851                               33,112                               Full tuition                      0            0              0        0                   0        0
Part-Time            $ 456    $ 8,836             $ 1,098            $                                  More than full tuition        10               2              8        2                   2        2
                                                                   21,035
                                                                                                        75th Percentile grant                                  $ 2,213                   $ 2,213
Tuition Guarantee Program                            No                                                 amount
                                                                                                        50th Percentile grant                                  $ 2,213                   $ 2,213
                                                                                                        amount
                                                                                                        25th Percentile grant                                   $ 713                    $ 1,500
                                                                                                        amount




    2                                                                                                                                                          FLORIDA A&M UNIVERSITY
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Living Expenses 2021-2022
Estimated Living Expenses for singles

Living on Campus                                   $0

Living Off Campus                                $ 28,644

Living At Home                                   $ 17,366


Conditional Scholarships 2020-2021
Students Matriculating in    # Entering with     # Reduced or Eliminated

2020-2021 Academic Year                 2                       1

2019-2020 Academic Year                 0                       0

2018-2019 Academic Year                 0                       0

Please note that due to the COVID-19 pandemic, some schools
reduced/eliminated conditional scholarships for the duration of the
pandemic.


Academic Attrition 2020-2021
                                                        JD1                            JD2                   JD3                    JD4           UL

                                            T     M      W          O    %     T   M         W   O   T   M         W   O   T   M          W   O   %

Hispanics of any race                       1      1        0       0   5.9    0   0         0   0   0   0         0   0   0    0         0   0   0.0
American Indian or Alaska Native            0      0        0       0   0.0    0   0         0   0   0   0         0   0   0    0         0   0   0.0
Asian                                       0      0        0       0   0.0    0   0         0   0   0   0         0   0   0    0         0   0   0.0
Black or African American                   7      3        4       0   12.3   1   0         1   0   0   0         0   0   0    0         0   0   0.6
Native Hawaiian or Other Pacific Islander   0      0        0       0   0.0    0   0         0   0   0   0         0   0   0    0         0   0   0.0
Two or More Races                           1      1        0       0   6.7    1   0         1   0   0   0         0   0   0    0         0   0   2.2
Total Minority                              9      5        4       0   9.9    2   0         2   0   0   0         0   0   0    0         0   0   0.8
White                                       4      3        1       0   19.0   2   0         2   0   0   0         0   0   0    0         0   0   1.9
Nonresident Alien                           0      0        0       0   0.0    0   0         0   0   0   0         0   0   0    0         0   0   0.0
Race and Ethnicity Unknown                  0      0        0       0   0.0    0   0         0   0   0   0         0   0   0    0         0   0   0.0
Total                                       13     8        5       0   11.6   4   0         4   0   0   0         0   0   0    0         0   0   1.1



Other Attrition 2020-2021
                                                        JD1                            JD2                   JD3                    JD4           UL

                                            T      M        W       O    %     T   M         W   O   T   M         W   O   T   M          W   O   %

Hispanics of any race                       1      0        1       0   5.9    0   0         0   0   0   0         0   0   0    0         0   0   0.0
American Indian or Alaska Native            0      0        0       0   0.0    0   0         0   0   0   0         0   0   0    0         0   0   0.0
Asian                                       0      0        0       0   0.0    0   0         0   0   0   0         0   0   0    0         0   0   0.0
Black or African American                   1      0        1       0   1.8    0   0         0   0   0   0         0   0   0    0         0   0   0.0
Native Hawaiian or Other Pacific Islander   0      0        0       0   0.0    0   0         0   0   0   0         0   0   0    0         0   0   0.0
Two or More Races                           2      2        0       0   13.3   0   0         0   0   0   0         0   0   0    0         0   0   0.0
Total Minority                              4      2        2       0   4.4    0   0         0   0   0   0         0   0   0    0         0   0   0.0
White                                       1      1        0       0   4.8    0   0         0   0   1   1         0   0   0    0         0   0   1.0
Nonresident Alien                           0      0        0       0   0.0    0   0         0   0   0   0         0   0   0    0         0   0   0.0
Race and Ethnicity Unknown                  0      0        0       0   0.0    0   0         0   0   0   0         0   0   0    0         0   0   0.0
Total                                       5      3        2       0   4.5    0   0         0   0   1   1         0   0   0    0         0   0   0.3




    3                                                                                                                      FLORIDA A&M UNIVERSITY
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Transfers 2020-2021
JD1 Transfers Out                                                                 4

Transfers In*                                                                     2

75th Percentile JD1 GPA                                                      0.00

50th Percentile JD1 GPA                                                      0.00

25th Percentile JD1 GPA                                                      0.00

*GPA Percentiles provided if School has 12 or more transfers in. If more than 5
but less than 12 transfers in only 50th percentile will be provided.




   4                                                                                  FLORIDA A&M UNIVERSITY
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                    Ex. B
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  FLORIDA AGRICULTURAL AND MECHANICAL UNIVERSITY
                  COLLEGE OF LAW

 Advanced Topics in Criminal Procedure: The Role of Race in
                    Criminal Procedure
                       2 credit hours
                                      Fall 2021

                                 COURSE SYLLABUS

Professor LeRoy Pernell                                 leroy.pernell@famu.edu
Room 337G                                                Office Hours: M & W
407-254- 4034                                            4 p.m. – 6 p.m.

   WELCOME TO ADVANCED TOPICS IN CRIMINAL PROCEDURE: THE
           ROLE OF RACE IN CRIMINAL PROCEDURE!

COURSE DESCRIPTION

Advanced Topics in Criminal Procedure: The Role of Race in Criminal Procedure
 is a 2-credit course which addresses the emerging national concern over the unwanted,
but often ignored, role of race in American criminal justice. Legal scholars have long
noted that race plays a role in how our criminal process works. This course systematically
traces the role that race played, at each major stage of the criminal process including the
application of Equal Protection and Due Process principles.

COURSE OBJECTIVES

At the conclusion of the course, students should have acquired knowledge on the
significance that race has played in criminal procedure and the United States
Constitutional issues raised.
__________________________________________________.

STUDENT LEARNING OUTCOMES

By the end of this course, you should be able to

   •   Identify United States Constitutional Issues
   •    Understand the civil rights implications of leading criminal procedure doctrine.
   •   Develop strategies for improving the criminal justice system.
   •   Be reinforced in the understanding of criminal justice doctrine that may be
       reflected in bar examinations.

CLASS SCHEDULE

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Friday 1:00 p.m. – 3:00 p.m.




REQUIRED MATERIALS

LeRoy Pernell and Omar Saleem, CASES AND MATERIALS ON COMBATING
RACISM IN CRIMINAL PROCEDURE, (Vandeplas Publishing 2021)
ISBN: 978-1-60042-525-7


TWEN

You must register on TWEN for this class. Course assignments, notices, schedule
changes, etc. will be posted on the TWEN site. It is the responsibility of each student to
regularly check the TWEN site for any changes/modifications to course specifics.
The address is http://lawschool.westlaw.com/ then follow the link to TWEN. Please use
a valid famu.edu e-mail address to sign up on the TWEN site.

CLASS FORMAT

Lecture and Socratic. Significant use of multi-media


CREDIT HOUR POLICY

This is a 2 credit hour class which complies with the College of Law’s Credit Hour
Policy as published at the College of Law and in accordance with the American Bar
Association Standard 310.


CLASS ATTENDANCE REQUIREMENTS AND TARDINESS POLICY:

You are enrolled in a professional institution. Class attendance, participation and
punctuality are mandatory. You are required to attend all class meetings and are to
record your attendance daily by signing the attendance roll. Attendance includes the
obligation to arrive on time. Any student who is late to class will not be allowed to sign
the attendance roll and will be considered absent from class. Questions of "excused"
absences or reasons for tardiness will not be entertained. If you are absent, for whatever
reason, you are absent. If you are not prepared for class on any given day, you are absent
for that day. Please ensure that you read and adhere to the law school's attendance
policy, located in the student handbook. Students who miss more than the allotted
number of classes per the student handbook will receive an F and will be automatically
dropped from the class. It is your responsibility to contact the Associate Dean for
Student Services or the Director of Student Affairs during the semester at the
earliest time possible if you run into difficulties complying with these standards.

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EXAMINATIONS AND GRADING SYSTEM

You will have a Final Exam. The final examination given at the end of the semester will
determine the remaining 100% of your grade for this course. The final will be ”open
book”.

This final examination will be 3 hours in length. It will be an essay exam. In addition,
there will be formative assessment opportunities provided throughout the semester which
are not graded.

The date and time for the final examination will be set by the Dean's office and posted
later in the semester. Any rescheduling due to conflicts or illness must be done
through the Office of the Associate Dean for Academic Affairs and not mentioned to
me in order to preserve your anonymity.



ACADEMIC HONOR CODE POLICY

Pursuant to the Student Code of Conduct, “[s]tudents at the College of Law are members
of both the law school community and the larger University community. The College of
Law adopts as its Honor Code the University’s Code of Conduct now and as might be
later amended. As such, the University’s Student Code of Conduct shall govern all
academic and non-academic misconduct that are not expressly addressed or covered by
the College of Law Student Handbook. All students should review and be
knowledgeable about FAMU Regulation 2.012-2.013 University Student Code of
Conduct . . .” The University’s Academic Honor Policy is located in the FANG Student
Handbook, under the Student Code of Conduct- Regulation 2.012 section, beginning on
page 55-56.

POLICY STATEMENT ON NON-DISCRIMINATION

It is the policy of Florida Agricultural and Mechanical University to assure that each
member of the University community be permitted to work or attend classes in an
environment free from any form of discrimination including race, religion, color, age,
disability, sex, marital status, national origin, veteran status and sexual harassment as
prohibited by state and federal statutes. This shall include applicants for admission to the
University and employment.

ADA COMPLIANCE


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To comply with the provisions of the Americans with Disabilities Act (ADA), please
advise the Office of Student Affairs of any accommodations required to insure
participation in this course. Documentation of disability is required and should be
submitted to the Learning Development and Evaluation Center (LDEC). For additional
information please contact the LDEC at (850) 599-3180.

OUTLINE AND READING ASSIGNMENTS

The following pages contain the outline and reading assignments for the course. Reading
assignments are subject to specific direction by the instructor in class, email or by
TWEN.




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     Advance Topics: Race and Criminal
               Procedure
Required Casebook : LeRoy Pernell and Omar Saleem, Cases and Materials
on Racism in Criminal Procedure, (Vandeplas 2021)




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The Presence of Race in the Criminal Justice System Before and after the
Civil War
      Case Book pages 3 - 28
            Dred Scot v. Sanford
            The Dredd Scott Decision; Speech by Frederick Douglass
            Armistad – In Class Presentation
            United States v. Amy

Race, Criminal Justice and the Fourteenth Amendment
      Casebook pages 29-49
            Brown v. Mississippi
            Powell v. Alabama
            Scottsboro: An American Tragedy (in class presentation)

Race and Interrogation
      Casebook pages 50-86
            Brown v. Mississippi (re-visited)
            Chambers v. Florida
            Lyons v. Oklahoma
            Haley v. Ohio
            The Central Park Five (in class presentation)
            Davis v. North Carolina
            Wright v. Pennsylvania

Race and the Fourth Amendment
      Probable Cause to Seize, casebook pages 87 – 97
            Davis v. Mississippi
            Whren v. United States
      Race and the Determining the Existence of Seizure casebook pages 98
      – 111
            California v. Hodari
            United States v. Mendenhall
      Race and Consent to Search, casebook pages 111-117
            Bumper v. North Carolina
            In Re J.M.
      Race and Stop and Frisk casebook pages 118-198
                                     6
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            Brief for the NAACP in Terry v. Ohio
            Illinois v. Wardlow
            Brief for the NAACP in Illinois v. Wardlow
            Utah v. Strieff, Sotomayor Dissent
            Floyd v. City of New York
            Cops expose NYPD's Stop and Frisk Program (part 1) (in
            class presentation)
            Cops expose NYPD's Stop and Frisk Program (part 2) (in
            class presentation)
      Racial Profiling casebook pages 198-228
            United States v. Brignoni-Ponce
            United States v. Martinez-Fuerte
            Maryland State Conference of the NAACP Branches v.
            Maryland Department of the State Police
            Kolendar v. Lawson
            Racial Profiling and Law Enforcement: America in Black
            and White (in class presentation)
      Race and Unreasonable Seizure – the Use of Deadly Force casebook
      pages 229 – 265
            Tennessee v. Garner
            Torres v. Madrid, 592 U.S. ___ (2021) (TWEN PAGE)
            Graham v. Conner
            Baxter v. Bracey
      Race and National Security casebook pages 266 – 279
            Korematsu v. United States
            Rasul v. Bush
            Supreme Court Landmark Case Korematsu v. United States
            (in class presentation)

Race and the Charging Decision
      The Decision Not to Prosecute casebook pages 279 – 298
           A Nation of Law? : Eyes on the Prize Episode 12 ( in class
           presentation)
           Inmates of Attica Correctional Facility v. Rockefeller
           United States v. Cox

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           NAACP v. Levi
      The Decision to Prosecute: The Selective Prosecution Defense
           United States v. Armstrong
           United States v. Jackson
           United States v. Davis
           Yick Wo v. Hopkins

Race and the Grand Jury
      Challenging the Racial Composition of the Grand Jury casebook
      pages 358 - 393
             Strauder v. West Virginia
            Cassell v. Texas
            Campbell v. Louisiana
            Vasquez v. Hillery
            Castaneda v. Partida
      Race and Selection of the Grand Jury Foreperson casebook pages
      394-415
            Rose v. Mitchell
            Hobby v. United States

Race and Pretrial Release, casebook pages 418-471
      Kinney v. Lenon
      United States v. Zarrab
      United States . Awadallah

Race and Effective Assistance of Counsel casebook pages 472 – 525
      Public Defender, Eleventh Judicial Circuit of Florida v. Eleventh
      Judicial Circuit of Florida
      Buck v. Davis
      Ellis v. Harrison
      United States v. Seale
      Murder on a Sunday Morning (in class presentation)

Race and Jury Selection casebook pages 526 – 625
      The Fair Cross Section Requirement
            Taylor v. Louisiana
            Berghuis v. Smith
                                     8
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            Holland v. Illinois
      Challenges for Cause and Peremptory Challenges
            Ham v. South Carolina
            Tristaino v. Ross
            Turner v. Murray
            Rosales-Lopez v. United States
            Batson v. Kentucky
            Powers v. Ohio
            Flowers v. Mississippi
            United States v. Barber

Race and Eyewitness Identification casebook pages 626-693
      Constitutional Challenges to Lineups, Showup and Photographic
      identification
             United States v. Jones
             State v. Artis
             State v. Henderson
      Jury Instructions on Cross-Racial Misidentification
             State v. Cromedy
             Perez v. Glover
             United States v. Ingram
             State v. Allen
      The Use of Expert Testimony on Cross-Racial Misidentification
             Brodes v. State
             State v. Copeland

Prosecutorial Misconduct: Appealing to Jury Racism casebook pages 694-
729
      People v. Robinson
      United States v. Grey
      State v. Guthrie
      State v. Kirk
      United States v. McKendrick
      Miller v. North Carolina

Race and Jury Misconduct casebook pages 762-802
                                   9
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      United States v. Benally
      United States v. Henley
      Pena-Rodriguez v. Colorado
      Tharpe v. Sellers

Race and Sentencing casebook pages 803-860
      Death Penalty
            Mccleskey v. Kemp
            State v, Loftin
            Furman v. Georgia
            United States v. Barnes
      Disproportionate Sentencing
            United States v. Blewett
            Dorsey v. United States
            Race on Trial ( in class presentation)




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                    Ex. C
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